Case 3:18-cv-00059-GEC Document 50 Filed 06/11/19 Page 1 of 1 Pageid#: 250

                                                                                               06/11/2019



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

GARY WENTZ,                                           )
                                                      )                             3:18CV00059
        Plaintiff,                                    )        Civil Action No. 7:19CV00058
                                                      )
v.                                                    )
                                                      )        ORDER OF DISMISSAL
CULPEPER MEMORIAL HOSPITAL,                           )
INC. d/b/a NOVANT HEALTH UVA                          )
HEALTH SYSTEM CULPEPER                                )        By: Hon. Glen E. Conrad
MEDICAL CENTER, CHRISTOPHER                           )        Senior United States District Judge
McCULLOUGH, NEVILLE FERNANDO,                         )
ASHLEY BRUSHWOOD, BRENDA                              )
BROCK, and ROBBIE SMITH,                              )
                                                      )
        Defendants.                                   )

        The court has before it the parties' stipulation of dismissal in this case filed pursuant to

 Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure.

        It is accordingly,

                                         ADJUDGED and ORDERED

that the above-styled matter is DISMISSED with prejudice, and this case is stricken from the

 active docket of this court

        The Clerk is hereby directed to send a certified copy of this order to all counsel of record.

                Enter this     I l "b4    day of June, 2019.




                                                    Senior United States District Judge
